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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DREW KARLBERG, et al.                :             CIVIL ACTION
                                     :
            v.                       :
                                     :
SANTANDER BANK, N.A.                 :             NO. 17-3561

                                MEMORANDUM
Bartle, J.                                         October 25, 2017

            Plaintiff Drew Karlberg, a Pennsylvania citizen,

individually and on behalf of others similarly situated,

originally filed this action against defendant Santander Bank,

N.A., a Delaware citizen, in the Court of Common Pleas of

Philadelphia County.      He alleges various state law causes of

action related to improper overcharges for private mortgage

insurance collected, held in trust, and distributed by

defendant.    The putative class consists only of Pennsylvania

citizens.

            After plaintiff’s amended class action complaint was

docketed in the state court on July 11, 2017, the defendant

filed a Notice of Removal in this court on August 9, 2017.            The

Notice of Removal avers that the individual plaintiff and the

defendant are of diverse citizenship and that the other

jurisdictional requirements of the Class Action Fairness Act,

28 U.S.C. § 1332(d), have been met, including an aggregate
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amount in controversy in excess of $5,000,000, exclusive of

interest and costs.     See § 1332(d)(2) and (6).

            The plaintiff has now filed a Motion to Remand.             While

there is no dispute about the existence of diversity of

citizenship, plaintiff maintains that the jurisdictional amount

cannot be satisfied.      He also argues that the Notice of Removal

was untimely.

            Removal of an action over which the district court has

original jurisdiction must occur “within 30 days after the

receipt by the defendant, through service or otherwise, of a

copy of the initial pleading setting forth the claim for

relief.”    § 1446(b)(1); see also id. § 1441.        Section 1446(b)(3)

further provides:

            Except as provided in subsection (c), if the
            case stated by the initial pleading is not
            removable, a notice of removal may be filed
            within 30 days after receipt by the
            defendant, through service or otherwise, of
            a copy of an amended pleading, motion, order
            or other paper from which it may first be
            ascertained that the case is one which is or
            has become removable. 1

            Here, the original complaint was filed on April 26,

2017.   It sought damages for overcharges of premiums but the

amount was never quantified.       After careful review, the court

concludes that the amount in controversy could not reasonably be



1. The provisions of § 1446(c) relating to the timing of
removal are not applicable here.
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ascertained from that pleading.         The plaintiff, however, as

noted above, filed an amended class action complaint in the

state court on July 11, 2017.        That pleading contained more

detailed allegations of damages.         The Notice of Removal was

timely filed within thirty days thereafter.           The plaintiff’s

argument that defendant’s Notice of Removal was late is without

merit.

             Plaintiff next contends that the amount in controversy

required under the Class Action Fairness Act has not been

satisfied.     See id. § 1332(d)(2).       Under the Act, “the claims of

the individual class members shall be aggregated to determine

whether the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs.”           See id.

§ 1332(d)(6).

             In the amended complaint, plaintiff alleges five state

law causes of action:       (1) Count I - violations of Pennsylvania

Unfair Trade Practices and Consumer Protection Law;

(2) Count II - breach of contract; (3) Count III - unjust

enrichment/restitution (pled in the alternative);

(4) Count IV - breach of fiduciary duty (pled in the

alternative); and (5) Count V - declaratory judgment.             Count I

pleads the following claim for actual and statutory damages for

plaintiff and the class:



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          [F]or each instance of unfair or deceptive
          acts including, but not limited to each
          instance in which Santander overcharged its
          mortgage borrowers in excess of the parties’
          agreed-upon PMI, in an amount in excess of
          $50,000, treble damages, . . . [and]
          reasonable attorneys’ fees . . . .

Plaintiff also seeks punitive damages in the count for breach of

fiduciary duty in addition to the damages claimed for violation

of the Pennsylvania Unfair Trade Practices and Consumer

Protection Law.

          Defendant’s Notice of Removal reads the amended

complaint as seeking damages in excess of $50,000 for each

instance of an alleged monthly mortgage insurance overcharge in

addition to seeking treble damages, punitive damages, and

attorneys’ fees.   In a declaration which accompanied the Notice

of Removal, an assistant vice president of defendant states that

defendant has reviewed its mortgage portfolio and that “[a]s a

result of this review, Santander has identified a total

potential population of 281 Pennsylvania loans that may satisfy

the alleged class criteria as pled in the Amended Complaint.”

If defendant’s reading of the amended complaint is correct, the

aggregate amount in controversy with appropriate multiplication

is clearly greater than $5,000,000.

          Plaintiff does not challenge the number of loans which

equates to significantly more than the minimum of 100 class

members required for removal of a putative class action.

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See id. § 1332(d)(5)(B).     However, plaintiff maintains that

while the plaintiff and the putative class seek damages for each

monthly overcharge the amount of each overcharge is only a few

dollars as shown by the amended complaint and its exhibits.           The

plaintiff himself has alleged a loss of only $52.         The claim for

damages in excess of $50,000, plaintiff asserts, is in the

aggregate and was simply stated to conform to a local procedural

requirement in the Court of Common Pleas of Philadelphia County

to avoid having the case placed in the court’s mandatory

arbitration program.     See Phila. R. Civ. P. 1301.

           In St. Paul Mercury Indemnity Co. v. Red Cab Co.,

303 U.S. 283 (1938), the Supreme Court many years ago outlined

the standard for determining whether the amount in controversy

requirement has been met.     The sum claimed by plaintiff controls

“if the claim is apparently made in good faith.        It must appear

to a legal certainty that the claim is really for less than the

jurisdictional amount to justify dismissal.”        Id. at 288-89.    In

making its decision, the court may review the face of the

pleadings.   Id.   It may also determine from the proofs whether

plaintiff to a legal certainty was never entitled to recover the

amount pleaded.    Id.

           The parties cite more recent decisions of our Court of

Appeals.   In Morgan v. Gay, 471 F.3d 469 (3d Cir. 2006), the

Court expounded the standard and its application in determining

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whether the amount in controversy under 28 U.S.C. § 1332(d) has

been satisfied in a putative class action removed from the state

court.    There, the complaint explicitly stated that the

aggregate amount in controversy did not exceed $5,000,000.

Id. at 471. The Court noted that the good faith standard and the

legal certainty test are “entwined.”         Id. at 474.     It went on to

explain that the party invoking federal subject matter

jurisdiction “has the burden to prove to a legal certainty that

the amount in controversy exceeds the statutory threshold.”              Id.

at 474.    In addition, the court must determine whether

plaintiff’s actual monetary demand satisfies the jurisdictional

threshold even if plaintiff states a demand below the threshold

and under state law plaintiff may limit his claim to such an

amount.    Id. at 474-75.     Significantly, a plaintiff’s demand in

the complaint is “not dispositive under the legal certainty

test.”    Finally, the court must not only examine the plaintiff’s

dollar demand but also his or her “actual legal claims.”             Id. at

475.

             The Court of Appeals in Frederico v. Home Depot,

507 F.3d 188, 193-97 (3d Cir. 2007) revisited the issue of the

amount in controversy requirement for removal of a class action.

It reiterated that the party invoking federal jurisdiction has

the burden of proving that the action belongs in the federal

court.    Id. at 193.    Frederico explained that the test set forth

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in Morgan applies only where the complaint expressly limits the

damages to an amount below the jurisdictional threshold.          Id. at

196-97.    In a case like Morgan, the defendant must establish to

a legal certainty that plaintiffs can recover at least the

threshold amount.    Id. at 197.   In contrast, where the complaint

as here and in Frederico does not specifically state that the

amount in controversy is less than the threshold sum, the case

must be remanded if it appears to a legal certainty that the

challenger, that is the plaintiff, cannot recover the requisite

jurisdictional amount.    Id. at 197.

            In 2011, after Morgan and Frederico, Congress enacted

the Federal Court Jurisdiction and Venue Clarification Act.

Pub. L. No. 112-63, 125 Stat. 758 (2011).       There Congress

clarified the procedure and standard for determining if the

amount in controversy requirement has been met when an action is

removed from the state court.      See Dart Cherokee Basin Operating

Co. v. Owens, 135 S. Ct. 549, 554 (2014).       Section 1446(c)(2)

provides:

           (2) If removal of a civil action is sought on
          the basis of the jurisdiction conferred by
          section 1332(a), the sum demanded in good faith
          in the initial pleading shall be deemed to be
          the amount in controversy, except that—

             (A) the notice of removal may assert the
                amount in controversy if the initial
                pleading seeks—

                (i) nonmonetary relief; or

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              (ii) a money judgment, but the State
               practice either does not permit demand
               for a specific sum or permits recovery
               of damages in excess of the amount
               demanded; and

          (B) removal of the action is proper on the
             basis of an amount in controversy
             asserted under subparagraph (A) if the
             district court finds, by the
             preponderance of the evidence, that the
             amount in controversy exceeds the amount
             specified in section 1332(a). 2

          The Supreme Court explained in Dart, a case involving

the Class Action Fairness Act, that when the plaintiff invokes

federal jurisdiction, the statement in the complaint of the

jurisdictional amount must be accepted if made in good faith.

135 S. Ct. at 553.   On the other hand, if the defendant removes

the action, the plausible statement in the Notice of Removal

concerning the jurisdictional amount must be accepted unless

challenged by the plaintiff or questioned by the court.          Id.

          When the amount in controversy is challenged by the

plaintiff or questioned by the court, “both sides submit proof

and the court decides, by a preponderance of the evidence,



2. While § 1446(c)(2) refers to removal of an action where
jurisdiction exists under § 1332(a), the Supreme Court in Dart
assumed without deciding that this provision also applies to the
removal of class action cases where jurisdiction is predicated
on § 1332(d)(2) and the amount in controversy must exceed
$5,000,000. As the court observed, there seems to be no logical
reason why the standard for removing § 1332(d)(2) cases should
be any more onerous than for § 1332(a) cases. Dart, 135 S. Ct.
at 554, n.1.
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whether the amount-in-controversy requirement has been

satisfied.”   Id. at 554.    The Supreme Court also quoted from the

Report of the House Judiciary Committee that “defendants do not

need to prove to a legal certainty that the amount in

controversy requirement has been met.”        Id.   It further cited

the Report that discovery may be taken to help resolve the

jurisdictional issue and that the district court is to apply the

preponderance of the evidence standard in making its findings.

Id.   To the extent that Morgan and Frederico are inconsistent

with Dart, we must of course follow Dart.

           The plaintiff has challenged the defendant’s

contention in its Notice of Removal that this action meets the

requisite amount in controversy for federal subject matter

jurisdiction.   The plaintiff maintains that defendant misreads

the amended complaint and that even if the amended complaint can

be read to plead the requisite amount in controversy, the sum of

the damages he and the class seek in good faith do not allow for

removal.   Consequently, in accordance with Dart, the court held

a hearing to provide the defendant, the party invoking federal

jurisdiction, an opportunity to establish by a preponderance of

the evidence that the aggregate amount in controversy surpasses

$5,000,000, exclusive of interest and costs.

           At the hearing, defendant chose to rest on its Notice

of Removal and the allegations in the amended complaint.           The

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plaintiff likewise did not present any evidence.         After careful

review of the amended complaint, the claims alleged, and the

Notice of Removal, the court finds that the defendant has not

established by a preponderance of the evidence that the amount

in controversy has been satisfied.       While the plaintiff’s

pleading is inartfully drafted, we find that the amount sought

in good faith by the plaintiff and each class member for each

monthly overcharge is only tens of dollars at most.          In light of

the facts pleaded and the legal claims asserted, it is not

plausible that the class can recover in excess of $5,000,000,

exclusive of interest and costs.

          Accordingly, this action will be remanded to the Court

of Common Pleas of Philadelphia County for failure to meet the

jurisdictional amount in controversy.




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